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                           IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

  UNITED STATES OF AMERICA,                          §
                                                     §
                                                     § CASE NUMBER 4:19-CR-00264-SDJ
  v.                                                 §
                                                     §
                                                     §
  GINA CORWIN (9),                                   §


         ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

         The Court referred this matter to the Honorable Kimberly C. Priest Johnson, United States

  Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

  Procedure. Judge Johnson conducted a hearing in the form and manner prescribed by Federal Rule

  of Criminal Procedure 11, and issued her Findings of Fact and Recommendation on Guilty Plea

  before the United States Magistrate Judge Kimberly C. Priest Johnson. The magistrate judge

  recommended the Court accept Defendant’s guilty plea. She further recommended the Court

  adjudge
       . Defendant guilty of Count One of the Information filed against Defendant.
         The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

  the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge

  Kimberly C. Priest Johnson are ADOPTED. The Court accepts Defendant’s plea but defers

  acceptance of the plea agreement until after review of the presentence report. It is further

  ORDERED that in accordance with Defendant’s guilty plea and the magistrate judge’s findings

  and recommendation, Defendant, Gina Corwin, is adjudged guilty of the charged offense under

  Title 21 U.S.C. § 846.
            So ORDERED and SIGNED this 30th day of July, 2020.




                                                             ____________________________________
                                                             SEAN D. JORDAN
                                                             UNITED STATES DISTRICT JUDGE
